                                            CLERK’S MINUTE SHEET
                                   IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW MEXICO (AT ALBUQUERQUE)

                                          Before the Honorable John F. Robbenhaar
                                               Preliminary/Detention Hearing
Case Number:                19mj4052                              UNITED STATES vs. Perez
Hearing Date:               11/13/2019                            Time In and Out:          10:00 a.m./10:08 a.m.
Courtroom Deputy:           K. Hernandez de Sepulveda             Courtroom:                Rio Grande
Defendant:                  Joseph Mathew Perez                   Defendant’s Counsel:      Joe M. Romero, Jr.
AUSA:                       Paul Spiers                           Pretrial/Probation:       M. Pirkovic
Interpreter:                N/A                                   Witness:
Initial Appearance
☐     Defendant received a copy of charging document
☐     Court advises defendant(s) of possible penalties and all constitutional rights
☐     Defendant
☐     Government moves to detain                                  ☐ Government does not recommend detention
☐     Set for                                                     on                               @
Preliminary/Show Cause/Identity
☒     Defendant waives Preliminary Hearing
☒     Court finds probable cause                                  ☐    Court does not find probable cause
Detention
☐     Defendant
☒     Defense addresses Court, requests release to La Pasada Halfway House; AUSA does not object; Court findings.
Custody Status
      Defendant will remain in custody pending bed space at
☒     La Pasada Halfway House
☐     Conditions
Other
☐     Matter referred to    for Final Revocation Hearing
☐
